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         UNITED STATES DISTRICT COURT
                                District of Kansas
                                  (Topeka Docket)

UNITED STATES OF AMERICA,

                   Plaintiff,

            v.                               CASE NO. 19-20052-JAR/JPO

FENG TAO,
a/k/a “Franklin Tao,”
                 Defendant.



                           Entry of Appearance


Nathan M. F. Charles, Trial Attorney, U.S. Department of Justice, National

Security Division, hereby enters his appearance as attorney for the United States.

Copies of all pleadings and correspondence should be served on Nathan M. F.

Charles at the office shown below.

                                      Respectfully submitted,

                                      s/ Nathan M. F. Charles
                                      Nathan M. F. Charles, Trial Attorney
                                      Pennsylvania Bar #315497
                                      950 Pennsylvania Avenue NW, Suite 7700
                                      Washington, DC 20530
                                      nathan.charles@usdoj.gov
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                        CERTIFICATE OF SERVICE

      I hereby certify that on October 9, 2019, I electronically filed the
foregoing with the clerk of the court by using the CM/ECF system which will
send a notice of electronic filing to all counsel of record.

                                     s/Nathan M. F. Charles
                                     Nathan M. F. Charles, Trial Attorney
                                     Pennsylvania Bar #315497
                                     950 Pennsylvania Avenue NW, Suite 7700
                                     Washington, DC 20530
                                     nathan.charles@usdoj.gov
